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                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA  )
                          )
                          )
v.                        )               Case No. 21-cr-00040-TNM
                          )
PATRICK EDWARD MCCAUGHEY, )
III, et. al.,             )
                          )
              Defendant   )
                          )


        DEFENDANT DAVID MEHAFFIE’S REQUEST FOR COURT
   TO TAKE JUDICIAL NOTICE PURPSUANT TO FED R. EVIDENCE 201



      On December 3, 1979, eleven (11) people were crushed to death by a

crowd of thousands attempting to enter the “General Admission” doors at

Riverfront Coliseum in Cincinnati, Ohio. The Crowd was attending a concert

by the English band, “The Who” and recorded music played inside the stadium

cause the crowd outside to believe the concert as beginning. Thousands of

“General Admission” ticket holders rushed two open doors into the stadium

which were for General Admission ticket holders, leading to the deaths and

injuries of dozens who were at the front of the crowd and were crushed against

other doors that were locked.

      A digital copy of the front page of the New York Times dated December 4,

1979 is attached hereto, marked as Trial Exhibit HHH.
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      Pursuant to Federal Rule of Evidence 201, a court may judicially notice a

fact that is not subject to reasonable dispute because it “Can be accurately and

readily determined from sources whose accuracy cannot reasonably be

questioned.”

      Defendant David Mehaffie requests the Court take judicial notice of the

facts of that incident based on the New York Times article published

contemporaneously with the event.


Dated: September 6, 2022                         Respectfully submitted,

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